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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Case No. 1:22-cr-00018-JMC
       v.                                   :
                                            :
JAMES WAYNE BROOKS,                         :
                                            :
                Defendant.                  :

  GOVERNMENT’S MOTION TO FILE SENTENCING MEMORANDUM ONE DAY
                          OUT OF TIME


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests the Court to accept the government’s sentencing

memorandum, electronically filed on the docket in this case on Friday, October 21, 2022.

According to the Court’s minute order of August 4, 2022, the government’s memorandum was

due in court on Thursday, October 20, 2022. The government’s internal review of the draft

memorandum caused the government to inadvertently miss the filing deadline.

       The undersigned has spoken with opposing counsel, who informed me he does not

oppose this motion.

                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                            By:     s/ Zachary Phillips

                                                    Assistant United States Attorney
                                                    CO Bar No. 31251
                                                    Capitol Riot Detail
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                                CERTIFICATE OF SERVICE

       On this 24th day of October, 2022 a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                             s/ Zachary Phillips
                                             Assistant United States Attorney
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